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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                  DECISION AND ORDER
                                                                                 08-CR-69S -12

JOSE MARTINEZ,

                         Defendant.



        1.      Presently before this Court is Defendant Jose Martinez’s Motion for

“Reconsideration of Detention Order.” (Docket No. 184.)1

        2.      Martinez is charged, along with ten other co-defendants, by way of

Superseding Indictment, with knowingly, willfully, and unlawfully combining, conspiring, and

agreeing with others, known and unknown, to commit offenses against the United States,

that is, possessing with intent to distribute , and to distribute, 500 grams or more of a

mixture and substance containing cocaine, and manufacturing, possessing with intent to

distribute and distributing 50 grams or more of a mixture and substance containing cocaine

base, in violation of Title 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 841(b)(1)(B); all in

violation of Title 21 U.S.C. § 846.

        3.      Following the Superseding Indictment, the Government moved to detain

Martinez. On July 17, 2008, the Honorable H. Kenneth Schroeder, Jr., United States

Magistrate Judge, held a hearing with respect to the Government’s motion.


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          Martinez’s m otion also asks this Court to dism iss the Superseding Indictm ent based upon
violations of the Speedy Trial Act and the Sixth Am endm ent to the United States Constitution, and also to
Sever him from the other co-defendants. (Docket No. 184.) This Court will rule upon these requested
bases of relief by way of separate decision and order.

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       4.     By Order dated July 18, 2008, Judge Schroeder ordered that Martinez be

detained pending trial. (Docket No. 95.) In the Order, Judge Schroeder set forth the

governing factors for detention under the Bail Reform Act, 18 U.S.C. § 3142(g), and made

certain factual findings, which, according to Judge Schroeder, compelled Martinez’s

detention. In particular, Judge Schroeder held that Martinez has a serious criminal history,

which dates back to 1993, and involves charges of attempted murder, assault, harassment,

conspiracy to distribute cocaine, stalking, violations of his probation, and is presently

charged with felony drug charges in Pennsylvania. Judge Schroeder also noted that

Martinez attempted to escape on three different occasions while in U.S. Marshals custody.

Because Judge Schroeder concluded that there are no conditions or combination of

conditions that could reasonably assure the safety of the community or the future

appearance of the defendant, he ordered that Martinez be detained pending trial.

       5.     Although Martinez did not appeal Judge Schroeder’s Order, by motion dated

December 2, 2009, Martinez asked this Court to “reconsider” Judge Schroeder’s Order of

detention. (Docket No. 184.) Trial is presently scheduled for January 5, 2010.

       6.     In support of the motion, Martinez, through his attorney, argues a number of

grounds. First, his attorney argues that “it is too costly and very cumbersome for me to visit

with and consult with Jose Martinez while he remains incarcerated at the Batavia Detention

Center which is approximately 35 miles from my law office.” (Docket No. 184, ¶ 37.)

Second, he argues that “there is not one scintilla of evidence indicating that Jose Martinez

had anything to do with the charged conspiracy.” (Id. ¶ 39.) Third, that he has been

“totally stonewalled” by the prosecution with respect to discovery materials and plea offers.

(Id. ¶ 41.)

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      7.     Having reviewed Judge Schroeder’s Order of Detention, the factors set forth

under the Bail Reform Act, and Martinez’s arguments in support of reconsideration, this

Court finds no basis to reconsider Judge Schroeder’s determination. Martinez does not

challenge any of Judge Schroeder’s factual findings, nor does he argue that Judge

Schroeder incorrectly applied the governing factors set forth in 18 U.S.C. § 3142(g).

Moreover, he does not present any changes in circumstance addressing his flight from,

and danger to, the community.

      8.     With respect to Martinez’s arguments, his purported inconvenience in

communicating with his client is not a valid basis upon which to reconsider Judge

Schroeder’s determination. Second, his argument that there “is not one scintilla of

evidence” connecting his client to the conspiracy is premature and awaits determination

upon trial in this case. And lastly, his attorney’s argument that he has been “totally

stonewalled” is again, not relevant to whether Martinez should be detained pending trial.

      9.     Accordingly, Defendant Jose Martinez’s Motion for Reconsideration of Judge

Schroeder’s Order of Detention is denied.



      IT IS HEREBY ORDERED, that Defendant Jose Martinez’s Motion for

Reconsideration of Judge Schroeder’s Order of Detention (Docket No. 184) is DENIED.

      SO ORDERED.


Dated: December 17, 2009
       Buffalo, NY
                                                           /s/William M. Skretny_
                                                          WILLIAM M. SKRETNY
                                                        United States District Judge


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